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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                       EUGENE DIVISION


UNITED STATES OF AMERICA                               6:21-cr-00048-MC

               v.                                      INFORMATION

WILLIAM WEBB,                                          18 U.S.C. § 1956(a)(1)(B)(i)
                                                       21 U.S.C. § 841(a)(1) and (b)(1)(C)
               Defendant.
                                                       Forfeiture Allegation




                      THE UNITED STATES ATTORNEY CHARGES:

                                            COUNT 1
                                       (Money Laundering)
                                   (18 U.S.C. § 1956(a)(1)(B)(i))

       Beginning in 2015 and continuing through June 2018, in the District of Oregon,

Defendant WILLIAM WEBB did knowingly conduct and attempt to conduct financial

transactions affecting interstate and foreign commerce, to wit, transfers from defendant’s Oregon

Community Credit Union into his Charles Schwab account, which involved the proceeds of a

specified unlawful activity, that is, possession with intent to distribute marijuana in violation of

21 U.S.C. § 841, including the following financial transaction:

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         DATE                                FINANCIAL TRANSACTION

 February 6, 2018          A $330 transfer from Oregon Community Credit Union account
                           ending in 4095 into Charles Schwab account ending in 3342.

knowing that the transactions were designed in whole and in part to conceal and disguise the

nature, location, source, ownership, and control of the proceeds of said specified unlawful

activity and that while conducting and attempting to conduct such financial transaction,

defendant knew that the property involved in the financial transaction represented the proceeds

of some form of unlawful activity,

       All in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i).

                                          COUNT 2
                       (Possession with Intent to Distribute Marijuana)
                             (21 U.S.C. § 841(a)(1) and (b)(1)(C))

       Starting on or before June 11, 2018, in the District of Oregon, defendant WILLIAM

WEBB did knowingly and intentionally possess with intent to distribute marijuana, in the form

of over 50 marijuana plants, a Schedule I controlled substance;

       In violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(C).

                                FORFEITURE ALLEGATION

       Upon conviction of the offense in Counts 1 and 2, defendant shall forfeit to the United

States, pursuant to 18 U.S.C. § 982(a)(1) and 21 U.S.C. § 853, any property, real or personal,

involved in such offense, and any property traceable to such property. The property to be

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forfeited includes, but is not limited to, the following: $41,842.61 in U.S. Currency seized from

Charles Schwab brokerage account ending in 1833 in the name of William Browning Webb.

       Dated: February 12, 2021.

                                                     Respectfully submitted,

                                                     BILLY J. WILLIAMS
                                                     United States Attorney

                                                     /s/ Gavin W. Bruce______________
                                                     GAVIN W. BRUCE, OSB # 113384
                                                     Assistant United States Attorney




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